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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION


 GERVON DEXTER, SR.

              Plaintiff,                         CASE NO. 1:23-cv-00228-AW-HTC

 vs.


 BIG LEAGUE ADVANCE FUND II, LP,

           Defendant.
 ____________________________________/


       DEFENDANT’S AMENDED RULE 7.1 CORPORATE DISCLOSURE
                         STATEMENT

        Pursuant to this Court’s Order requiring Defendant Big League Advance

Fund II, LP (“Defendant”) to file an Amended Rule 7.1 Disclosure (Dkt. 9),

Defendant hereby makes the following amended disclosure:

        1.    Defendant has no parent corporation or publicly-traded companies

that own 10% or more of its stock.

        2.    Defendant is a limited partnership, formed and existing under the laws

of Delaware, with its principal place of business in Potomac, Maryland.

        3.    Defendant has one (1) general partner, Big League Advance, LLC

d/b/a Big League Advantage, and one-hundred-and-twenty-eight (128) limited

partners.
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      4.      As set forth in Defendant’s Unopposed Motion to Extend Time to File

an Amended Rule 7.1 Disclosure and Request to File Under Seal and the

accompanying Declaration of Joseph Turo (Dkts. 11 & 11_1), Defendant

respectfully requests that it be permitted additional time to file the requisite

information for each partner and to file the information about its limited partners

under seal.



Dated: October 30, 2023                        Respectfully submitted,

                                               ZWILLGEN PLLC

                                               By: /s/ Kelsey Harclerode
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                          CERTIFICATE OF SERVICE

      I certify that on this 30th day of October 2023, a true and accurate copy of

the foregoing was electronically filed with the Clerk of Court by using the

CM/ECF system. I also certify that the foregoing document is being served this

day on all counsel of record identified on the attached service list in the manner

specified, either via transmission of Notices of Electronic Filing generated by

CM/ECF or in some other authorized manner for those counsel or parties who are

not authorized to electronically receive Notice of Electronic Filing.



                                 /s/ Kelsey Harclerode
                                 Kelsey Harclerode (Florida Bar No. 1048280)


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